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AO 450 (Rev. 5/85) Judgment in a Civil Case

United States District Court FILED
Western District of Texas MAY 1 3.2002

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EQUAL EMPLOYMENT WESTERN istalke OF TEXAS
OPPORTUNITY COMMISSION py _~ =n =
Plaintiff
JUDGMENT IN A CIVIL CASE
V.
JAFFE GROUP, INC. dba
Southwest Realty Management, Inc., CASE NUMBER: SA-01-CV-325 IV
Defendant

ls ury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

] Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED
that plaintiff's motion for summary judgment is granted and that within ten (10) days of the entry of

 

this order, Jaffe shall correct its employment practices regarding age discrimination and retaliation;

 

provide the EEOC with reports regarding EEO training and revised EEO policies/procedures; notify

 

its employees of the revised EEO policies; and make paymnet to Crawford and to Kiel in the full

 

amounts reflected in the concilitation agreement.

 

 

 

 

 

 

 

 

 

 

May 09, 2002 William G. Putnicki
Date Clerk

 

 

Kathy Cavazos

4 (By) Deputy Clerk

 
